
Appeal No. 906529CV from Judgment dated August 7, 1992, James E. Graves Jr., Ruling Judge, Hinds County Circuit Court, First Judicial District.
William N. Reed, Baker Donelson Bear-man Caldwell, Jackson, Heber S. Simmons, III, Armstrong Allen, Jackson, for Appellant.
Dale Danks, Jr., Earl Keyes, Keyes Danks Coxwell &amp; Leonard, Jackson, James W. Younger, Jr., Jackson, for Appellee.
Before DAN M. LEE, C.J., and PITTMAN and McRAE, JJ.
Affirmed.
PRATHER, P.J., not participating.
